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                       Exhibit A
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                                   IN THE UNITED STATES
                                  DISTRICT COURT FOR THE
                                  DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON        MDL No. 16-2738 (MAS) (RLS)
     TALCUM POWDER PRODUCTS          JUDGE MICHAEL A. SHIPP
     MARKETING, SALES PRACTICES, AND MAG. JUDGE RUKHSANAH
     PRODUCTS LIABILITY LITIGATION   L. SINGH

      THIS DOCUMENT RELATES TO:                         Civil Action No. <<Docket No>>


      <<DECEDENT NAME>>,


                     Plaintiff,
      v.

      JOHNSON & JOHNSON, ET AL.


                    Defendants.


                       NOTICE OF INABILITY TO SUBSTITUTE


           In accordance with Case Management Order No. 9 – Status of Deceased Plaintiffs,

   Counsel for Plaintiff in the above-referenced action hereby gives notice of the inability to

   substitute a proper party within the timeline outlined by the CMO.


           Upon information and belief, ___________________________ died on or about

   ___________. Counsel for Plaintiff is unable to substitute a proper party in this action,

   because (select one option below):


            Category One

            Probate petition has been filed, but no order appointing a personal representative
            has been entered.



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          Name of petitioner:

          Court, Case Number,
          and Date filed

          Remand state:



          Category Two

          Probate counsel has been retained, but a probate petition has not yet been filed.

          Name of petitioner:

          Date probate counsel
          retained:

          Remand state:

          If it is anticipated that
          the probate petition
          will not be filed prior to
          September 28, 2024,
          please provide non-
          privileged information
          in explanation:



          Category Three

          Next of kin has not yet been identified or retained, and probate is required to
          substitute parties.

          Remand state:

          Counsel represents that good faith efforts have been undertaken, continuing into
          calendar year 2024, to identify and retain next of kin for purposes of substitution
          of parties and provide the following non-privileged information in explanation:

          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________


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          Category Four

          Next of kin has not yet been identified or retained, probate is not required to
          substitute parties.

          Remand state:

          Counsel represents that good faith efforts have been undertaken, continuing
          into calendar year 2024, to identify and retain next of kin and provide the
          following non-privileged information in explanation:

          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________
          _______________________________________________________________



          Cite case law and/or
          statute(s) that permit
          substitution without
          probate:



   Dated: _________________                  Respectfully submitted by,

                                             ________________________________________




                                             Attorneys for Plaintiff




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                                 182576

                                   CERTIFICATE OF SERVICE

        I hereby certify that on May 13, 2024, a copy of the foregoing document was filed via the

Court’s CM/ECF electronic filing system. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. Parties may access this

filing through the Court’s system.




                                                        /s/




                                                    4
